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                             UNITED STATES DISTRICT COURT
19
              CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION
20
     JENNY LISETTE FLORES, et al.,             No. CV 85-4544-DMG (AGRx)
21
22                    Plaintiffs,              OPPOSITION TO MOTION TO MODIFY
                                               ORDER APPOINTING SPECIAL
23          v.                                 MASTER/INDEPENDENT MONITOR
24   JEFFERSON B. SESSIONS, Attorney           Hearing: Nov. 9, 2018
25   General, et al.,                          Time:    10:00 am.
                                               Room:    1st St. Courtroom 8C
26                    Defendants.
27
28
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 1 I.      INTRODUCTION
 2         Defendants urge the Court to remove its July 30, 2018, order (ECF 470) (“July
 3 30 order”) from the purview of the independent monitor’s reference (ECF 494) on the
 4 ground such oversight is a “sanction” that conflicts with the Settlement and that ORR
 5 does not deserve in any event. The Court should deny Defendants’ motion.
 6         As will be seen, the uncontroverted record demonstrates that ORR did not
 7 timely comply with the July 30 order and is almost certainly not complying with it
 8 now. Children detained at the Shiloh Residential Treatment Center (“Shiloh RTC”)
 9 and elsewhere report that ORR continues to administer them psychotropic drugs
10 without informed parental consent or court order, continues to place them at Shiloh
11 without competently determining they pose a risk of harm to themselves or others,
12 and continues to deny them private telephone conversations.
13         The evidence also shows that ORR continues to place class members in secure
14 detention without giving children written notice in a language they understand of the
15 reasons for secure placement. Further, ORR is now detaining some 1,500 class
16 members for months in unlicensed “tent cities” where they are experience security,
17 conditions, and treatment wholly incompatible with the Settlement’s guarantee of
18 placement in licensed, non-secure dependent care facilities.
19         The record further shows that ORR has adopted a number of policies and
20 practices—particularly regarding fingerprinting of proposed sponsors—that
21 needlessly protract children’s detention. In essence, ORR seems to reason that if it
22 may not distend children’s confinement for howsoever long as its director may take
23 to approve their release, it may accomplish the same result by imposing ever-
24 increasing and needless demands for fingerprinting, while doing little or nothing to
25 enable sponsors to comply with those onerous requirements.
26         It will also be seen that ORR is increasingly committed to hobblig Plaintiffs’
27 ability to monitor its compliance with the July 30 order and the Settlement, including
28 prohibiting Plaintiffs’ mental health experts from “engaging in a mental health
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 1 evaluation” of detained children and insisting that any expert accompanying
 2 Plaintiffs’ counsel execute an “all-encompassing” waiver of their right to privacy in
 3 information about their “character, general reputation, personal characteristics, and/or
 4 mode of living.”
 5         Lastly, there is simply no legal support for Defendants’ notion that monitoring
 6 is a “sanction” the Court may not impose without doing violence to the Settlement
 7 itself. As the Court’s order of reference indicates, ORR’s violations of the July 30
 8 order and the Settlement itself are not likely to end anytime soon; a monitor could
 9 well prove indispensable to the Court’s adjudicating these violations efficiently while
10 it attends to the many other matters on its busy docket.
11 II.     THE EVIDENCE SHOWS ORR IN CONTEMPT OF THE COURT’S JULY 30 ORDER AND
12         OTHERWISE IN BREACH OF THE SETTLEMENT.

13         A.     ORR continues to violate the July 30 order in its treatment of class
14                members at Shiloh RTC.
15         In July 30 order, the Court enjoined ORR against administering psychotropic
16 drugs to children detained at the Shiloh RTC unless it first obtains informed parental
17 consent or a court order authorizing it to do so. The Court further ordered ORR to
18 remove all class members from Shiloh RTC unless a licensed psychologist or
19 psychiatrist determines that a particular child poses a risk of harm to self or others.
20         On August 23, 2018, Plaintiffs’ counsel, accompanied by psychiatrist Amy
21 Cohen, M.D., visited the Shiloh facility and interviewed staff and children detained
22 there. Declaration of Amy Cohen, M.D., August 26, 2018, Exhibit 7 (“Cohen I”).
23         According to Dr. Cohen, Douglas Plaeger, Shiloh’s Program Director, stated
24 that someone from the Public Health Service had spent two days during the week of
25 August 13, 2018, reviewing case files for Shiloh’s then-current detainees, but had
26 actually only spoken to about three children only. Id. ¶ 8. Mr. Plaeger further stated
27 that ORR had not informed Shiloh of the results of this “file review,” and Shiloh had
28
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 1 accordingly transferred no child to another facility because of ORR’s risk-of-harm
 2 determinations. Id.
 3         As regards psychotropics, Mr. Plaeger reported that Shiloh continued to
 4 recognize ORR as wielding full authority to authorize Shiloh to administer children
 5 medications on a non-emergent basis without parental consent or court authorization.
 6 Id. at ¶ 9. Class members corroborated Mr. Plaeger’s admissions:
 7         [One child] confirmed that since July 30, 2018, no one has interviewed him to
 8         assess whether he poses a danger to himself or others. He further confirmed
 9         that he continues to take Lexapro and that as far as he knows, no one from
10         Shiloh or ORR has asked [his adult family members] for permission to
11         continue giving him psychotropic medication.
12         All of the other children I assessed at Shiloh reported much the same: (i) no
13         one has spoken with them to assess whether they pose a risk of harm to
14         themselves or others; and (ii) Shiloh continues to administer psychotropic
15         medications without parental consent or court order.
16 Id. ¶¶ 10-11.1
17        As for removing class members from Shiloh who pose no risk of harm, ORR
18 did not complete its “file review” risk-determinations until about September 6, 2018.
19 Email from S. Fabian, September 7, 2018, Exhibit 12; Declaration of Carlos Holguín,
20 October 19, 2018, Exhibit 3 ¶ 7 (“Holguín”). Of the 13 children’s files ORR purports
21 to have evaluated, it ended up transferring only one to another facility. Id.2
22
23  As far as Plaintiffs can determine, ORR did not actually tell Shiloh to stop
     1


24 medicating children without parental consent or court order until September 13, 2018,
   nearly a month and a half after this Court’s order. See Letter from ACF to Shiloh
25 RTC, September 13, 2018, Exhibit 11.
26
     According to ORR’s report, it also released one class member to a sponsor, even as
     2

27 it continued to house another three children at Shiloh whose release it had approved,
   seemingly despite their posing no risk of harm. Holguín ¶ 7.
28
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 1         The utility of independent monitoring of ORR’s risk determinations is
 2 manifest. ORR has refused to disclose (i) the identity or qualifications of the
 3 individual who “determined” that the children remaining at Shiloh as of September 6
 4 pose a risk of harm; (ii) the methodology or metric it used to determine such risk; and
 5 (iii) the reports, if any, ORR prepared of its file-review risk assessments. Email from
 6 S. Fabian, October 19, 2018, Exhibit 25.
 7         There is good reason to question whether ORR’s risk determinations
 8 adequately ensure that class members are placed at Shiloh only as the July 30 order
 9 and the Settlement permit:
10         Nor, in my opinion, has ORR has evaluated Lucas—or any of the other twenty-
11         four children at Shiloh—carefully enough to conclude that any of them pose a
12         risk of harm to themselves or others. My extensive review of the records of
13         Lucas and another child have suggested that no standardized metric whatsoever
14         is used to evaluate actual risk to self. Rather, the mere admission of suicidal
15         thoughts have been sufficient to precipitate significantly elevated supervision
16         and transfer to a higher level of care, often—as in Lucas’s case—to the
17         detriment of these children. . . .
18         In my opinion, ORR’s treatment of Lucas and other children at Shiloh RTC
19         continues to fall far short of both accepted mental health care standards and the
20         “risk of harm” and informed consent standards set out in the Court’s order of
21         July 30.
22 Cohen I ¶ 7, 15.
23      Nor does it appear that ORR’s complying with the July 30 order has improved
24 since. On October 17, and 18, 2018, Plaintiffs’ counsel again interviewed class
25 members detained at Shiloh. Child after child reported that the Court’s order has had
26 little impact on ORR’s placing children at Shiloh or on the treatment they experience
27 there.
28
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 1         Filed herewith as Exhibits 18-24 are the declarations of class members now
 2 detained at Shiloh, some three and one-half months after the July 30 order. Their
 3 declarations attest as follows:
 4         1) ORR appears3 still to administer psychotropic medications to children
 5 without their families’ consent or court order. Declaration of C., October 18, 2018,
 6 Exhibit 18 ¶ 9 (class member administered psychotropic medication; “As far as I
 7 know, my mom has not given permission for me to take the medication.”);
 8 Declaration of F., October 18, 2018, Exhibit 20 ¶ 7 (same; class member
 9 administered “about seven medications at night . . .”); Declaration of M., October 18,
10 2018, Exhibit 21 ¶ 10 (same; “Sometimes, I feel like I’ve been give twenty pills in
11 one day.”); Declaration of M., October 18, 2018, Exhibit 22 ¶¶ 8-9 (same; “The drugs
12 make me feel really tired and sluggish. . . . Sometimes I have stomach pain and a lot
13 of headaches. . . . No one from Shiloh has asked permission from my mother or my
14 aunt to give me the medications.”); Declaration of N., October 18, 2018, Exhibit 23 ¶
15 6 (medication “makes me feel tired and unmotivated. As far as I know, my mom has
16 not given permission for me to take the medication.”).4
17
18  Plaintiffs have not had time to obtain ORR’s files for the declarants whose accounts
     3

   are set out in Exhibits 18-24, and they cannot therefore exclude all possibility that
19 ORR may have obtained informed parental consent or court order allowing Shiloh to
20 medicate class members.
21 For its part, ORR has refused to provide Plaintiffs with copies of any consent or court
22 order it may have obtained. See Letter from C. Holguín to S. Fabian, August 10,
   2018, Exhibit 1; Email from S. Fabian, October 19, 2019, Exhibit 26. Such
23 secretiveness underscores the need to retain compliance with the July 30 order in the
24 independent monitor’s duties.
25   At the July 27, 2018, hearing on Plaintiffs’ motion to enforce, the Court indicated
     4

   that ORR should consider its order regarding medicating children at Shiloh RTC a
26
   bellwether for medicating children detained at other facilities.
27
   Nonetheless, ORR continues to administer psychotropic medications to children held
28 in facilities other than Shiloh without parental consent or court order. See Exhibits 30,
                                                           OPPOSITION TO MOTION TO MODIFY ORDER
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  1         2) ORR places children at Shiloh without competently evaluating whether they
  2 are risks to themselves or others. See, e.g., Declaration of C., October 18, 2018,
  3 Exhibit 18 ¶ 10 (“Since July 30, 2018, I do not remember receiving a psychiatric
  4 evaluation to determine whether I am dangerous.”); Declaration of E., October 18,
  5 2018, Exhibit 19 ¶ 10 (same); Declaration of F., October 18, 2018, Exhibit 20 ¶ 8
  6 (same); Declaration of M., October 18, 2018, Exhibit 21 ¶ 11 (same); Declaration of
  7 M., October 18, 2018, Exhibit 22 ¶ 10 (same); Declaration of N., October 18, 2018,
  8 Exhibit 23 ¶ 8 (same).
  9         3) Shiloh continues to monitor class members’ telephone calls with their family
 10 members. Declaration of C., October 18, 2018, Exhibit 18 ¶ 6 (child speaks to mother
 11 “twice a week and we are very close. These phone calls are not in private; my case
 12 manager is always in the room. I would prefer to talk to my mom privately because
 13 there are lots of things that I would like to tell her but don’t want my case manager to
 14 overhear.”); Declaration of E., October 18, 2018, Exhibit 19 ¶ 9 (same); Declaration
 15 of F., Exhibit 20 ¶ 4 (same); Declaration of M., Exhibit 21 ¶ 6 (same); Declaration of
 16 M., October 18, 2018, Exhibit 22 ¶ 7 (same); Declaration of Y., October 18, 2018,
 17 Exhibit 24 ¶ 8 (same); Declaration of N., October 18, 2018, Exhibit 23 ¶ 5 (same; “I
 18 don’t think any kids here are having private phone conversations.”).
 19
 20
 21
 22
 23 32, 33, 36, 38 and 39 (forms authorization Yolo County Juvenile Hall to medicate
    children without parental consent or court order); see also Declaration of G.A.L.R.,
 24
    September 9, 2018, Exhibit 17 ¶ 10 (“I take multiple medications. I think they are for
 25 sleep and anger. I do not know the names of the medications. I do not believe that my
    father knows about the medications I am on.”); Declaration of E.A.X.C., October 8,
 26
    2018, Exhibit 33 (“I am given medication to help me sleep here at Yolo. I do not have
 27 any family in the U.S., and no one has contacted my family for permission to give me
    medication.”).
 28
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  1         B.    ORR continues to deny children licensed placement without
  2               adequate reason or notice.
  3         The July 30 order bars ORR from placing children in secure, unlicensed
  4 facilities except as ¶ 21 of the Settlement allows. Order at 31. It also requires ORR to
  5 give detained children written notice in a language they understand of the reasons it
  6 has placed them in a secure facility. The available evidence shows ORR is failing to
  7 comply with this directive as well.
  8               1.     Secure placement without adequate notice.
  9         The evidence before the Court shows that ORR continues to confine class
 10 members at secure facilities such as Yolo County Juvenile Hall without providing
 11 them notice of its reasons for doing so in a language they understand, a violation of ¶
 12 24C of the Settlement and this Court’s July 30 order. See Notice of Placement in
 13 Restrictive Setting re: B., August 16, 2018, Exhibit 29; Declaration of B., October 18,
 14 2018, Exhibit 28 (“I did not understand what I was signing. I do not read, write, or
 15 understand English and the document was never presented or read to me in a
 16 language that I understand.”).
 17               2.     Unlicensed placement without lawful reason.
 18         ORR’s forms also indicate that it continues to place class members at Yolo for
 19 no ascertainable reason at all, much less one the July 30 order permits. E.g., Notice of
 20 Placement in Restrictive Setting re: D., August 29, 2018, Exhibit 35 (indicating
 21 secure placement because class member had been “previously placed at Yolo Secure .
 22 . .” pending “reassess[ment] to determine if appropriately placed.”). And it
 23 increasingly clear that ORR is placing children in secure, unlicensed facilities on an
 24 unprecedented scale.
 25         In June 2018, ORR constructed a “tent city” near the Tornillo Port of Entry in
 26 Texas (“Tornillo”). Originally described as a “temporary facility” capable of holding
 27 400 children, Tornillo is now expected to remain open until at least the end of this
 28 year and has been expanded to hold up to 3,800 children. The New York Times,
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  1 Migrant Children Moved Under Cover of Darkness to a Texas Tent City, Sept. 30,
  2 2018, available at www.nytimes.com/2018/09/30/us/migrant-children-tent-city-
  3 texas.html (last visited October 19, 2018).
  4          According to Defendants’ “fact sheet” on Tornillo, ORR is now confining
  5 some 1,500 children at the Tornillo detention camp. U.S. Department of Health and
  6 Human Services, Unaccompanied Alien Children sheltered at Tornillo LPOE,
  7 Tornillo, Texas, October 12, 2018, Exhibit 13 (“Fact Sheet”); see also, New York
  8 Times, Detention of Migrant Children Has Skyrocketed to Highest Levels Ever, Sept.
  9 12, 2018, available at www.nytimes.com/2018/09/12/us/migrant-children-
 10 detention.html (last visited October 17, 2018).
 11          Defendants’ fact sheet verifies that children at ORR’s tent city “do not
 12 integrate into the local community,” “do not attend local schools,” and “remain under
 13 the supervision of shelter staff at all times.” Fact Sheet at 2. Nowhere does the fact
 14 sheet assert that the detention camp is state-licensed to care for dependent children, as
 15 the Settlement requires; news reports indicate it is not. See, e.g., New York Times,
 16 The Government is Moving Migrant Children to a Texas Tent City. Here’s What’s
 17 Behind It, October 1, 2018, available at www.nytimes.com/2018/10/01/us/migrant-
 18 children-tent-city-camp-texas.html (last visited October 17, 2018) (“The shelters are
 19 licensed and monitored by state child welfare agencies that impose requirements on
 20 staff hiring and training, as well as education and safety. . . . Conversely, the tent city
 21 is considered an ‘emergency shelter’ and is thus unregulated, except for a loose set of
 22 guidelines crafted by the Department of Health and Human Services, which oversees
 23 it.”).
 24          Nor is it clear that ORR may house children at the Tornillo detention camp on
 25 grounds of “emergency” or “influx” as the Settlement defines them. See Settlement ¶
 26 12B. To the contrary, ORR’s own data confirm that the agency simply does not
 27
 28
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  1 transfer children from Tornillo to properly licensed facilities “as expeditiously as
  2 possible,” a prima facie violation of Settlement ¶ 12(3).5
  3         ORR’s monthly statistical reports reveal that as of September 13, 2018, ORR
  4 was detaining approximately 1,067 children at the Tornillo camp. Holguín ¶ 4. Of
  5 these, 46 children had been at Tornillo since June, 45 since July, and 493 since
  6 August. Id. ORR accordingly detained scores of children at Tornillo for prolonged
  7 periods without transferring them to licensed placements. Indeed, ORR’s fact sheet
  8 indicates that the agency does not place children at Tornillo as an initial response to
  9 an influx or emergency at all, but instead removes them from licensed placements in
 10 order to send them to the unlicensed tent city. Fact Sheet at 1 (“UAC spend on
 11 average 25 days at Tornillo. Most all are about to be released to a suitable sponsor.”).
 12         There is no telling how many more children ORR has “temporarily” confined
 13 at Tornillo for protracted periods as of this writing. Leah Chavla, lawyer and policy
 14 advisor with the Women’s Refugee Commission, recently visited the detention camp.
 15 Facility operators told her that “many of youth there were those that were awaiting
 16 results of fingerprints of their prospective sponsors.” Declaration of Leah Chavla,
 17 October 18, 2018, Exhibit 14. They also reported that there were “over 150 children
 18 [there] who were classified as “Category 4”: namely, children with no viable family
 19
 20   ORR’s reports indicate that the percentage of children at Tornillo ORR releases to
      5

    family has dropped significantly from June to August of 2018. Id. HHS claims that
 21 “logistical challenges” have slowed reunifications. Dallas News, Feds admit it’s
 22 slow-going reuniting immigrant children at tent city with families, Oct. 12, 2018,
    available at www.dallasnews.com/news/immigration/2018/10/12/feds-admit-slow-
 23 going-reuniting-immigrant-children-tent-city-families (last visited October 19, 2018).
 24
    As discussed post, however, there is good reason to believe that ORR’s ever-more
 25 extreme vetting of detained children’s parents and other available custodians is
    needlessly prolonging class members’ detention, thereby contributing to the “influx”
 26
    or “emergency” ORR cites as justification for its using Tornillo and other irregular
 27 detention camps. Id. (reporting that delays in completing fingerprint and background
    checks in turn delay children’s release for months).
 28
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  1 member in the United States to receive them. Children with no viable sponsor
  2 typically remain in custody for extended periods and are accordingly most in need of
  3 prompt placement in properly licensed facilities. Id. Since her visit, Chavla has
  4 learned from service providers that ORR has detained children at Tornillo for
  5 “several months.” Id.
  6         Plaintiffs’ counsel has notified ORR that they intend to interview class
  7 members at the Tornillo detention camp on October 25 and 26, 2018. Should they
  8 confirm the foregoing, Plaintiffs would be obliged to seek relief from this Court
  9 enjoining ORR’s violations of the Settlement’s licensed placement requirement.
 10 Defendants will almost certainly dispute some or all of the evidence bearing on this
 11 issue. Including ORR facilities in the independent monitor’s portfolio would
 12 accordingly further judicial economy.
 13         C.    ORR continues to unnecessarily prolong class members’ detention.
 14         This Court’s order of July 30 enjoined ORR from pursuing certain policies and
 15 practices that unnecessarily extend class members’ detention. E.g., July 30 Order at
 16 32 (enjoining blanket policy of requiring that post-release services be in place prior to
 17 the release of a class member to a sponsor for whom home study was conducted). The
 18 evidence indicates that ORR continues to pursue policies and practices that protract
 19 children’s detention unnecessarily. An independent monitor would prove helpful to
 20 the Court’s adjudicating whether these policies and practices accord with the
 21 Settlement.
 22               1.     ORR’s fingerprinting policies and practices unnecessarily protract
 23                      class members’ detention.
 24         In June of 2018, ORR, without going through the formal rulemaking process,
 25 prescribed substantially more burdensome fingerprinting requirements on class
 26 members’ parents and other available custodians. Previously, proposed sponsors and
 27 their adult household members only had to provide fingerprints in relatively limited
 28 circumstances: e.g., when there was a documented risk to the safety of the child,
                                                            OPPOSITION TO MOTION TO MODIFY ORDER
                                                10               APPOINTING INDEPENDENT MONITOR
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  1 when a particular child was “especially vulnerable,” or when ORR had studied the
  2 proposed sponsor’s home. ORR Policy Guide, § 2.6.2, FINGERPRINTS, available at
  3 https://web.archive.org/web/20180209024712/https://www.acf.hhs.gov/orr/resource/c
  4 hildren-entering-the-united-states-unaccompanied-section-2 (last visited October 19,
  5 2018).
  6          ORR’s current policy, however, requires that all potential sponsors, as well as
  7 all members of their households, undergo fingerprinting. ORR Policy Guide, § 2.6.2,
  8 FINGERPRINTS, available at www.acf.hhs.gov/orr/resource/children-entering-the-
  9 united-states-unaccompanied-section-2 (last visited October 19, 2018) (“All
 10 individuals seeking to sponsor a UAC and adults in their household are subject to
 11 fingerprinting requirements. . . Revised 6/7/18.”).
 12          Though fingerprinting is not in and of itself objectionable, ORR’s failure to
 13 increase the number or capacity of its vendors to accommodate the vastly increased
 14 workload its current fingerprinting policy creates, is.
 15          Merely scheduling a fingerprinting appointment now takes months. See
 16 generally, Second Amended Complaint at 17, J.E.C.M et al. v. Lloyd et al., 18-cv-903
 17 (E.D. Va. 2018) (“. . . appointments are being scheduled as far as one or two months
 18 out”). Once sponsors submit to fingerprinting, they must typically wait additional
 19 months for results. Fingerprinting delays now extend the time class members spend in
 20 ORR custody by months. See, S.E.V. v. Lloyd, et al., 18-cv-4555 (S.D.N.Y. Oct. 5,
 21 2018) (finding that “S.E.V.’s release has apparently been delayed by a new ORR
 22 policy requiring parents to be fingerprinted . . . .”); Declaration of Leah Chavla,
 23 Exhibit 14 ¶ 4 (“I know that since the summer, there have been significant delays in
 24 fingerprinting . . . “); Declaration of C., October 18, 2018, Exhibit 18 ¶ 7 (“[My
 25 mom] submitted her fingerprints in early July, as did my aunt and uncle who live with
 26 her. . . . After all these months, we’re still waiting for the federal agent to approve my
 27 mom’s fingerprints.”); Declaration of M., October 18, 2018, Exhibit 22 ¶ 6 (“My aunt
 28 applied to be my sponsor back in July. My case worker said that her home study,
                                                              OPPOSITION TO MOTION TO MODIFY ORDER
                                                 11                APPOINTING INDEPENDENT MONITOR
                                                                            CV 85-4544-DMG (AGRX)
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  1 applications, and finger prints were good, and we are only waiting on finger prints to
  2 clear for my twenty-three-year-old cousin who is to act as my backup caregiver. They
  3 told me the fingerprints would only take 15 days, but that time has now passed.”);
  4 Declaration of W, October 17, 2018, Exhibit 25 ¶ 12-13 (“Around 45 days ago, my
  5 father submitted his fingerprints. We have not gotten back any results. . . . Today the
  6 social worker told me that she is going to pressure the government to process my
  7 father’s fingerprints because that is the only thing holding me from being reunited
  8 with my father.”).
  9         Defendants have also embarked on a policy and practice aimed at discouraging
 10 parents and other potential custodians from seeking custody of detained children at
 11 all. In a profound and disturbing departure from prior policy and practice, ORR now
 12 sends fingerprints and extensive personal information of all would-be sponsors and
 13 their adult household members to ICE.
 14         In April of 2018, ORR, ICE, and CBP executed a Memorandum of Agreement
 15 whereby ORR sends sponsors’ fingerprints and other personal information to DHS.
 16 Memorandum of Agreement, April 13, 2018, § 5(B), Exhibit 8 (“ORR will provide
 17 ICE with the name, date of birth, address, fingerprints . . . and any available
 18 identification documents or biographic information regarding the potential sponsor
 19 and all adult members of the potential sponsor’s household”).
 20         Although Defendants’ nominally justify this on grounds of child safety, on
 21 September 18, 2018, an ICE official admitted that since ORR began sharing
 22 sponsors’ information, it had apprehended at least 41 sponsors and their family and
 23 household members. CNN, ICE arrested undocumented immigrants who came
 24 forward to take in undocumented children, September 20, 2018, available at
 25 www.cnn.com/2018/09/20/politics/ice-arrested-immigrants-sponsor-
 26 children/index.html (last visited October 19, 2018).
 27         In fact, ORR’s sharing potential sponsors’ fingerprints with ICE is wholly
 28 unnecessary to ensure child safety. See Declaration of Cecilia Saco, July 14, 2018,
                                                            OPPOSITION TO MOTION TO MODIFY ORDER
                                                12               APPOINTING INDEPENDENT MONITOR
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  1 Exhibit 9 ¶ 7 (Los Angeles County Department of Children and Family Services
  2 submits fingerprints “to three data bases: California Department of Justice (“DOJ”),
  3 FBI and California CACI (Child Abuse Central Index). . . . To the best of my
  4 knowledge, DCFS does not share live scan information with ICE except pursuant to
  5 court order.”).
  6         Obviously, when the threat of arrest and removal succeeds in deterring parents
  7 and other potential custodians from coming forward, children suffer longer and
  8 longer periods in ORR detention, a result wholly inimical to their welfare and ORR’s
  9 statutory obligation to care for children, not turn them into a tool of law enforcement.
 10 See generally Flores v. Sessions, 862 F.3d 863, 876 (9th Cir. 2017) (“focus on care
 11 and placement—rather than on detention—is evident from the plain text” of the
 12 Homeland Security Act and the Trafficking Victims Protection Act).
 13         Unless Defendants’ information-sharing furthers child safety or securing a
 14 child’s appearance, doing so violates the Settlement’s requirement of expeditious
 15 release. A special master would assist the Court in determining Defendants’ policy
 16 and practice in fact protect children, or merely injure them even more.
 17 III.    ORR HAS OBSTRUCTED PLAINTIFFS’ EFFORTS TO DETERMINE WHETHER IT IS
 18         COMPLYING WITH THE COURT’S JULY 30 ORDER AND IS OTHERWISE IN BREACH OF

 19         THE SETTLEMENT.

 20         A.    ORR’s limiting Plaintiffs’ experts’ access to detained children lacks
 21               a rational basis and appears aimed at shielding ORR’s mistreatment
 22               of class members from meaningful scrutiny.
 23         Paragraph 32 of the Settlement requires ORR to allow class counsel
 24 confidential attorney-client interviews with detained class members “in accordance
 25 with generally applicable policies and procedures relating to attorney-client visits at
 26 the facility in question.” As far as Plaintiffs know, no ORR facility has a written
 27 policy or procedure against lawyers’ having experts, including mental health
 28
                                                            OPPOSITION TO MOTION TO MODIFY ORDER
                                                13               APPOINTING INDEPENDENT MONITOR
                                                                          CV 85-4544-DMG (AGRX)
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  1 professionals, assist them interview detained clients. See, e.g., St. Michael’s Home
  2 for Children, Procedure: Attorney of Record, July 7, 2017, Exhibit 10-2.
  3         Nonetheless, on July 11, 2018, ORR refused to permit Plaintiffs’ consulting
  4 mental health expert, Dr. Amy Cohen, to interview class members at the Shiloh RTC.
  5 Email from S. Fabian, July 11, 2018, Exhibit 10. When Plaintiffs’ counsel insisted on
  6 reviewing Shiloh’s generally applicable policies and procedures relating to attorney-
  7 client visits, Defendants forwarded the document filed herewith as Exhibit 10-1.
  8         Shiloh’s written policy nowhere bars attorneys’ consulting experts from
  9 participating in meetings with detained clients; indeed, the policy ORR provided does
 10 not appear to address attorney-client visits at all, suggesting that Shiloh RTC may in
 11 fact have no policy regarding attorney-client visits, itself a likely violation of the
 12 Settlement. Settlement ¶ 32C (“Agreements for the placement of minor in non-INS
 13 facilities shall permit attorney-client visits, including by class counsel in this case.”).
 14         After vigorous objection by class counsel, ORR relented and allowed Dr.
 15 Cohen access to Shiloh detainees. Subsequently, however, ORR pronounced a
 16 blanket policy barring Plaintiffs’ mental health experts from attending confidential
 17 attorney-client meetings:
 18         ORR’s position is that the participation of mental health experts in attorney-
 19         client visits under Paragraph 32 is not mandated by the settlement agreement.
 20         Further, ORR’s child welfare experts are concerned that for minors who
 21         already have access to trauma-informed, individual and group mental health
 22         services . . . introduction of another unfamiliar mental health professional
 23         during attorney-client visits who ask the children to repeat their stories is not
 24         consistent with trauma-informed practice and child welfare principles.
 25         Therefore, going forward, ORR . . . will not permit such participation.
 26 Email from S. Fabian, October 10, 2018, included in Exhibit 4.
 27       ORR’s barring Plaintiffs’ counsel’s experts from participating in attorney-
 28 client meetings is utterly devoid of any rational basis:
                                                               OPPOSITION TO MOTION TO MODIFY ORDER
                                                 14                 APPOINTING INDEPENDENT MONITOR
                                                                             CV 85-4544-DMG (AGRX)
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  1         In my professional opinion, ORR’s blocking detained children from speaking
  2         with plaintiffs’ mental health experts is not only unwarranted by any specific
  3         data or professional literature, but in fact represents the potentially dangerous
  4         removal of a layer of protection for children under ORR custody. . . .
  5         In Psychiatry, as in all other areas of patient care, the expert second opinion is
  6         the gold standard by which current therapies are evaluated: the thoroughness of
  7         assessment, the accuracy of diagnosis, the efficacy of treatment. This is
  8         especially important for those with histories of trauma, where presentation is
  9         inconsistent, misdiagnosis common, and treatment complex and often
 10         ineffective, if not downright harmful. The notion that it is dangerous or
 11         counterproductive to conduct interviews with children suffering trauma to
 12         obtain a second opinion is not borne out by the literature nor by my years of
 13         experience. . . .
 14 Declaration of Dr. Amy Cohen, October 18, 2018, Exhibit 6 ¶¶ 7-8 (“Cohen II”).
 15       ORR’s limiting mental health professionals’ access to detained children
 16 appears aimed less at protecting children than it does concealing violations of the
 17 Settlement and this Court’s orders. The Court’s including ORR facilities in the
 18 Special Master’s mandate would do much to ensure that such violations do not go
 19 unnoticed.6
 20
 21
 22
 23
 24
     Perhaps sensing the untenability of its position, ORR Yesterday partially
      6

 25 backpedaled from its blanket exclusion of mental health experts. See Email from S.
 26 Fabian, October 18, 2018, Exhibit 26.
 27 The agency, however chastened, continues to insist that it will not permit Plaintiffs’
    experts to “engag[e] in a mental health evaluation . . .” of detained children. Id.
 28
                                                             OPPOSITION TO MOTION TO MODIFY ORDER
                                                 15               APPOINTING INDEPENDENT MONITOR
                                                                           CV 85-4544-DMG (AGRX)
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  1         B.     ORR’s invasive background checks of Plaintiffs’ mental health and
  2                other experts aim to deter effective monitoring of the July 30 order
  3                and the Settlement in general.
  4         ORR’s efforts to evade scrutiny of its compliance with the Settlement and this
  5 Court’s order go further still: the agency now insists that Plaintiffs’ consulting experts
  6 and interpreters execute the “Background Check Consent Form,” Exhibit 5-1, several
  7 days before speaking with detained children. Again, ORR’s demand is nowhere to be
  8 found in the Settlement, nor is it all rationally related to any legitimate concern for
  9 child welfare.
 10         To the contrary, like this Court’s order appointing an independent monitor,
 11 ECF 494 at 16, the Settlement nowhere requires that Plaintiffs give ORR any advance
 12 notice that they will conduct attorney-client meetings at a particular detention facility.
 13 See Settlement ¶ 32. Obviously, ORR’s completing a background check, even one far
 14 less invasive than that their form contemplates, takes time and cannot be
 15 accomplished unless Plaintiffs give notice well in advance of visiting any ORR
 16 detention facility. ORR, therefore, has no authority to demand that Plaintiffs’ experts
 17 submit to background checks at all.
 18         Plaintiffs’ counsel have nonetheless extended ORR the courtesy of notifying it
 19 in advance of monitoring visits and providing their experts’ names and driver’s
 20 license numbers. Until recently, that has been good enough. Holguín ¶ 6. ORR’s
 21 present background checks, however, are so distended and invasive of privacy as to
 22 amount to a “poison pill” aimed at deterring qualified experts from stepping forward
 23 to assist in evaluating ORR’s treatment of children detained in an ever expanding
 24 network of juvenile detention centers.
 25         ORR’s form, entitled “Consent to Pre-Visit Background Check,” authorizes it
 26 to obtain a “‘consumer report’ which may include information about your character,
 27 general reputation, personal characteristics, and/or mode of living.” Exhibit 5-1. By
 28 signing the form, a volunteer expert or translator cedes ORR authority to obtain “all-
                                                             OPPOSITION TO MOTION TO MODIFY ORDER
                                                16                APPOINTING INDEPENDENT MONITOR
                                                                           CV 85-4544-DMG (AGRX)
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  1 encompassing” personal information, including “information regarding your credit
  2 history, criminal history, social security verification, motor vehicle records,
  3 verification of your education or employment history, or other background checks.”
  4 That ORR’s demands are grossly and unnecessarily invasive of personal privacy
  5 cannot be gainsaid:
  6         During the course of my professional duties, I have been permitted access to
  7         numerous juvenile institutions; I have never been required to consent to the
  8         broad disclosure of personal information ORR’s form demands. It is my
  9         personal and professional opinion that requiring consent to ORR’s collecting
 10         such information is unnecessary and a strong deterrent to mental health
 11         professionals’ assisting class counsel in monitoring ORR’s compliance with
 12         court orders and the Flores settlement, particularly those of us who devote our
 13         time pro bono publico. In my opinion, ORR’s demanding mental health
 14         practitioners to broadly renounce their rights to personal privacy aims more to
 15         shield it from unwanted scrutiny than to serve any legitimate concern for child
 16         welfare.
 17 Cohen II ¶ 15.
 18      The Court’s including ORR facilities within the independent monitor’s duties
 19 would ensure that meaningful scrutiny of ORR’s compliance with the July 30 order
 20 and the Settlement will not be defeated for want of experts and translators willing to
 21 surrender their personal privacy in order to help detained children.7
 22
 23
 24
 25
 26
     ORR’s demand for vast amounts of personal information also appears to violate the
      7

 27 Paperwork Reduction Act, 44 U.S.C. § 3501 (requiring federal agencies to get OMB
    approval any time they demand personal information from ten or more individuals).
 28
                                                            OPPOSITION TO MOTION TO MODIFY ORDER
                                                17               APPOINTING INDEPENDENT MONITOR
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  1 IV.     INDEPENDENT MONITORING OF ORR’S COMPLIANCE WITH THE COURT’S JULY 30
  2         ORDER IS NOT A SANCTION AND COULD IMPOSE NO APPRECIABLE OPERATIONAL

  3         BURDEN ON ORR.

  4         The Court should also deny ORR’s motion because it mischaracterizes the
  5 appointment of a special master/independent monitor as a “sanction.”
  6         The function of a special master is to assist the Court with matters that “cannot
  7 be effectively and timely addressed by an available district judge or magistrate
  8 judge[.]” Fed. R. Civ. Proc. 53(a)(1)(C). Courts have appointed special masters
  9 “[b]ecause of the complexity of litigation and problems associated with compliance
 10 with the district court order.” Hoptowit v. Ray, 682 F.2d 1237, 1263 (9th Cir. 1982);
 11 see also Organization for Reform of Marijuana Laws v. Mullen, 828 F.2d 536, 542
 12 (9th Cir. 1987) (the “prospect of numerous, time-consuming hearings concerning
 13 noncompliance with the injunction” constitutes “exceptional condition” warranting
 14 reference to special master); Hook v. State of Arizona, 120 F.3d 921, 926 (9th Cir.
 15 1997).8
 16
 17
 18
      8ORR’s attempt to distinguish Hook and United States v. Suquamish Indian Tribe,
      901 F.2d 772 (9th Cir. 1990), is unavailing.
 19
 20 ORR argues that these cases approve the appointment of special masters to oversee
    injunctions, whereas the instant appointment involves oversight of a consent decree.
 21 The short answer to Defendants’ point is that the prospective provisions of a consent
 22 decree are an injunction. See Plummer v. Chemical Bank, 668 F.2d 654, 659 (2d Cir.
    1982); Williams v. Vukovich, 720 F.2d 909, 920 (6th Cir. 1983).
 23
    In all events, ¶ 32 of the Settlement authorizes Plaintiffs’ to appoint third parties to
 24
    assist them in monitoring ORR’s treatment of class members. The July 30 order
 25 directs ORR to comply with the Settlement; ¶ 32, a fortiori, authorizes Plaintiffs to
    appoint a third party to monitor the July 30 order as well.
 26
 27 The Court’s appointing a monitor is therefore, not qualitatively different from what
    the Settlement itself authorizes. The order of reference does grant the special master
 28 greater access to class members and information, but that, of course, is an entirely
                                                            OPPOSITION TO MOTION TO MODIFY ORDER
                                                18               APPOINTING INDEPENDENT MONITOR
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  1         A special master’s authority is limited by the order of appointment, but
  2 typically includes authority to compel, take, and record evidence. Fed. R. Civ. Proc.
  3 53(c)(1)(A)-(C). They may be authorized to impose non-contempt sanctions, but may
  4 only recommend contempt to a judge. Fed. R. Civ. Proc. 53(c)(2). Inasmuch as a
  5 special master may be authorized to impose non-contempt sanctions, merely
  6 appointing a master could hardly itself be a sanction. Cf. Silvers v. Sony Pictures
  7 Entm’t, Inc., 402 F.3d 881, 885 (9th Cir. 2005) (“when a statute designates certain
  8 persons, things, or manners of operation, all omissions should be understood as
  9 exclusions.”). This Court’s assigning a special master to assist it is no more a
 10 “sanction” than was its having assigned a judge to hear this case in the first instance.
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    reasonable and necessary measure if the Court is to address the violations of the July
 25 30 order and the Settlement it will surely be called upon to adjudicate.
 26
    Finally, were ORR’s instant objection valid, it would also preclude the Court’s
 27 having appointed an independent monitor to oversee DHS’s compliance with its order
    of June 27, 2017 (ECF 363) as well.
 28
                                                            OPPOSITION TO MOTION TO MODIFY ORDER
                                                19               APPOINTING INDEPENDENT MONITOR
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  1 V.     CONCLUSION
  2        For the foregoing reasons, the Court should deny Defendants’ motion to
  3 modify its order appointing a special master/independent monitor.
  4
      Dated: October 19, 2018.
  5                                            Respectfully submitted,
  6
                                               CARLOS R. HOLGUÍN
  7                                            PETER A. SCHEY
                                               Center for Human Rights &
  8                                            Constitutional Law
  9
                                               LEECIA WELCH
 10                                            NEHA DESAI
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 16                                               Carlos Holguín
                                                  One of the Attorneys for Plaintiffs
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                                                           OPPOSITION TO MOTION TO MODIFY ORDER
                                             20                 APPOINTING INDEPENDENT MONITOR
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